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        ORDERED in the Southern District of Florida on April 25, 2019.




                                                          Laurel M. Isicoff
                                                          Chief United States Bankruptcy Judge
_____________________________________________________________________________



                                    UNITED STATES BANKRUPTCY COURT
                                     SOUTHERN DISTRICT OF FLORIDA
                                             MIAMI DIVISION
        In re:
                                                                   CASE NO.: 19-bk-11167-LMI
        GLOBAL FISH HANDLERS
        CORPORATION,                                               CHAPTER 11

              Debtor.
        _______________________________/

              ORDER TO SHOW CAUSE WHY THE DEBTOR, GLOBAL FISH HANDLERS
                   CORPORATION, AND ITS AUTHORIZED REPRESENTATIVE
              CARL CRUZ, SHOULD NOT BE HELD IN CONTEMPT OF COURT [D.E. #73]


                 This matter came before the Court upon Motion of Associated Grocers of Florida, Inc.

        (“Associated”) for the entry of an Order Granting Motion for Entry of Order to Show Cause Why

        the Debtor, Global Fish Handlers Corporation, and Its Authorized Representative Carl Cruz,

        Should Not Be Held in Contempt of Court [D.E. #73] (“Motion for Order to Show Cause”) and

        upon, the representations set forth in the Motion for Order to Show Cause, and otherwise, being

        fully advised in the premises, it is thereupon:




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                                                                       Case No.: 19-bk-11167-LMI
         ORDERED and ADJUDGED that:

         1.     Associated’ s Motion for Order to Show Cause is GRANTED.

         2.     The Debtor, Global Fish Handlers Corporation (“Debtor”) and its Authorized

Representative, Carl Cruz (“Cruz”) shall appear before this Court on May 14, 2019 at 11:30 AM

before the Honorable Laurel M. Isicoff, Chief United States Bankruptcy Judge, at the

following location: C. Clyde Atkins U.S. Courthouse, 301 North Miami Avenue, Courtroom

8, Miami, Florida 33128, and show cause why the Debtor and/or Cruz should not be held in civil

contempt and sanctioned accordingly for failing and refusing to comply with this Court’s Order

Granting U.S. Trustee’s Emergency Motion to Convert or Dismiss Case and Approving Settlement

by and Between Associated Grocers of Florida, Inc. and Debtor, and for Expedited Hearing [D.E.

68] (“Order to Enforce”), inter alia, to comply with decretal paragraph 3 by dismissing, with

prejudice, its pending counterclaim filed against Associated in Florida Circuit Court, Eleventh

Judicial Circuit in and for Miami-Dade County, Florida, Case No; 2018-040529-CA-01.

         3.     The Debtor and Cruz shall appear before this Court as herein decreed and show

good cause why the Debtor and/or Cruz shall not be adjudicated in civil contempt of this Court for

failing and refusing to comply with this Court’s Order to Enforce [D.E. #68] and sanctioned

accordingly.

         4.     This Court reserves the right to grant such other and further relief as it deems just

and proper.

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Submitted by:
Robert A. Schatzman, Esquire
Robert.Schatzman@Gray-Robinson.com
(Attorney Schatzman is directed to serve a copy of this Order upon all interested parties required
and to file a certificate of service).




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